Case 1:23-cv-03721-SCJ Document 1-63 Filed 08/21/23 Page 1 of 3




                 EXHIBIT B-053
    Case 1:23-cv-03721-SCJ Document 1-63 Filed 08/21/23 Page
                                                          ‘
                                                             2 of 3
                                                                         FILED IN OFFICE
                                                                             Al

                                                                     S                N ERIOR   OURT
                 IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                     f




                                  STATE OF GEORGIA
RE: Special Purpose Grand Jury               I


                                             I     CASE NO. 2022—EX-000024




   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned hereby requests permission to use a recording device in
Courtroom      Q  in order to Erecord images and/or Esound during all or
portions of the proceedings in the above captioned case/calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): Ecomputer of any size, including a
tablet, a notebook, and a laptop; Esmart phone, a cell phone or other wireless
phone;   E  camera and other audio or video recording devices       E
                                                                   any similar
devices (a small digital voice recorder).

The proceedings that the undersigned desires to record commence on (date and
time) Tuesday, Aug. 9, 2022, at 12:30 p.m. Subject to direction from the court
regarding possible pooled coverage, the undersigned wishes to use this device
in the courtroom on (date and time) Tuesday, Aug. 9, 2022, at 12:30 p.m.

The personnel who will be responsible for the use of this recording device are:
(identify appropriate personnel or individual) Associated Press still photogapher.


The undersigned hereby certiﬁes that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.

For questions or concerns email Qiogﬁltoncoungyga. gov                            l
Rule 22 (Rev. 04/ 01/ 18)
    Case 1:23-cv-03721-SCJ Document 1-63 Filed 08/21/23 Page 3 of 3




*Notice to ReguestingAgency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

The Associated Press
[News Agency] Media Outlet] Law Firm] Individual Representative)

kbrumbac           .or
IEITLZH ACICINSSI

404-522-8971
[Phone Number]

ORDER APPROVING/DISAPPROVING REQUEST:
              The request is:
                         EApproved
                         DDisapproved
              The requesting agency:
                         DShall be pool for its media
                         EShall not be pool for its media
Under no circumstances is this rule to be construed as permission for ﬁlming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 8th           day of August                      _
                                                                     2022




                                     M Mum
                    Jildge of Superior Court of Fult 11 County
                                 Atlanta Judicial Circuit


For questions or concerns email io    ltoncoun   a. ov                        2
Rule 22 (Rev. 04/ 01/ 18)
